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                                UNITED STATES DISTRICT COURT
 8                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
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10      STATE OF WASHINGTON et al.,                       CASE NO. 2:25-cv-00244-LK

11                             Plaintiffs,                ORDER REGARDING INITIAL
            v.                                            DISCLOSURES, JOINT STATUS
12                                                        REPORT, AND EARLY
        DONALD J. TRUMP et al.,                           SETTLEMENT
13
                               Defendants.
14

15                                I. INITIAL SCHEDULING DATES

16          The Court sets the following dates for initial disclosure and submission of the Joint Status

17   Report and Discovery Plan:

18                  Deadline for FRCP 26(f) Conference:                  3/31/2025

19                  Initial Disclosures Pursuant to FRCP 26(a)(1):       4/14/2025

20                  Combined Joint Status Report and Discovery
                    Plan as Required by FRCP 26(f)
21                  and Local Civil Rule 26(f):                          4/28/2025

22          The deadlines above may be extended only by the Court. Any request for an extension

23   should be made to the Courtroom Deputy at (206) 370-5824. The parties are directed to meet and

24   confer before contacting the Court to request an extension.

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 1          If this case involves claims which are exempt from the requirements of Federal Rules of

 2   Civil Procedure (“FRCP”) 26(a) and 26(f), please notify the Courtroom Deputy at (206) 370-

 3   5824. In those cases, the parties must still file a joint status report by the deadline, addressing the

 4   applicable paragraphs below and clearly stating whether the parties anticipate that the matter can

 5   be resolved by dispositive motions, and if so, a proposed deadline and briefing schedule for such

 6   motions consistent with Local Civil Rule 7(k) and the Court’s Standing Order, described below.

 7                     II. JUDGE-SPECIFIC PROCEDURAL INFORMATION

 8          The parties are directed to review Judge King’s Standing Order for All Civil Cases,

 9   which is docketed in each case. The parties are expected to abide by the requirements set forth

10   therein. Failure to do so may result in the imposition of sanctions.

11          All parties must review applicable Local Rules, Electronic Filing Procedures for Civil

12   and Criminal Cases, court forms, instruction sheets, and General Orders, which can be found on

13   the Court’s website at www.wawd.uscourts.gov.

14                       III. JOINT STATUS REPORT & DISCOVERY PLAN

15          All parties are directed to confer and provide the Court with a combined Joint Status

16   Report and Discovery Plan (the “Report”) by April 28, 2025. This conference shall be by direct

17   and personal communication, whether that be an in-person or virtual face-to-face meeting or a

18   telephonic conference. The Report will be used to set a schedule for the prompt completion of

19   the case. It must contain the following information by corresponding paragraph numbers:

20          1.      A statement of the nature and complexity of the case.

21          2.      A proposed deadline for joining additional parties.

22          3.      The parties have the right to consent to assignment of this case to a full time

23   United States Magistrate Judge, pursuant to 28 U.S.C. § 636(c) and Local Rule MJR 13 to

24   conduct all proceedings. The Western District of Washington assigns a wide range of cases to

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 1   Magistrate Judges. The Magistrate Judges of this district thus have significant experience in all

 2   types of civil matters filed in our court. Additional information about our district’s Magistrate

 3   Judges can be found at www.wawd.uscourts.gov. The parties should indicate whether they agree

 4   that the Honorable Michelle L. Peterson may conduct all proceedings including trial and the

 5   entry of judgment. When responding to this question, the parties should only respond “yes” or

 6   “no.” Individual party responses should not be provided. A “yes” response should be indicated

 7   only if all parties consent. Otherwise, a “no” response should be provided.

 8             4.   A discovery plan that states, by corresponding paragraph letters (A, B, etc.), the

 9   parties’ views and proposals on all items set forth in FRCP 26(f)(3), which includes the

10   following topics:

11                   (A) initial disclosures;

12                   (B) subjects, timing, and potential phasing of discovery;

13                   (C) electronically stored information;

14                   (D) privilege issues;

15                   (E) proposed limitations on discovery; and

16                   (F)   the need for any discovery related orders.

17             5.   The parties’ views, proposals, and agreements, by corresponding paragraph letters

18   (A, B, etc.), on all items set forth in Local Civil Rule 26(f)(1), which includes the following

19   topics:

20                   (A) prompt case resolution;

21                   (B) alternative dispute resolution;

22                   (C) related cases;

23                   (D) discovery management;

24                   (E) anticipated discovery sought;

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 1                        (F)    phasing motions;

 2                        (G) preservation of discoverable information;

 3                        (H) privilege issues;

 4                        (I)    Model Protocol for Discovery of ESI; and

 5                        (J)    alternatives to Model Protocol.

 6              6.       For patent cases only: The case name, case number, and court or other tribunal for

 7   any pending or prior action challenging the patent(s) at issue in the case.

 8              7.       The date by which discovery can be completed.

 9              8.       Whether the case should be bifurcated; e.g., by trying the liability issues before

10   the damages issues; or bifurcated in any other way. 1

11              9.       Whether the parties intend to utilize the Individualized Trial Program set forth in

12   Local Civil Rule 39.2 or any ADR options set forth in Local Civil Rule 39.1.

13              10.      Any other suggestions for shortening or simplifying the case.

14              11.      The date the case will be ready for trial. The Court expects that most civil cases

15   will be ready for trial within a year after filing the Joint Status Report and Discovery Plan.

16              12.      Whether the trial will be jury or non-jury.

17              13.      The number of trial days required.

18              14.      The names, addresses, and telephone numbers of all trial counsel.

19              15.      The dates on which trial counsel may have conflicts to be considered in setting a

20   trial date.

21              16.      If, on the due date of the Report, all defendant(s) or respondent(s) have not been

22   served, counsel for the plaintiff shall advise the Court when service will be effected, why it was

23   not made earlier, and shall provide a proposed schedule for the required FRCP 26(f) conference

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         To the extent Defendants intend to seek a stay, Dkt. No. 257 at 3–5, they may do so by filing an appropriate motion.
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 1   and FRCP 26(a) initial disclosures.

 2          17.     Whether any party wishes a scheduling conference before the Court enters a

 3   scheduling order in the case.

 4          18.     List the date(s) that each and every nongovernmental corporate party filed its

 5   disclosure statement pursuant to FRCP 7.1 and Local Civil Rule 7.1.

 6          19.     A certification that all parties have reviewed Judge King’s Standing Order for All

 7   Civil Cases, the Local Rules, and the applicable Electronic Filing Procedures.

 8          If the parties are unable to agree on any part of the Report, they may answer in separate

 9   paragraphs. No separate reports are to be filed. If the parties wish to have a status conference

10   with the Court at any time during the pendency of this action, they should notify the Courtroom

11   Deputy at (206) 370-5824.

12                              IV. PLAINTIFFS’ RESPONSIBILITY

13          The Plaintiffs are directed to serve copies of this Order on all parties who appear after

14   this Order is filed. Such service shall be accomplished within then (10) days after each

15   appearance.

16          V. EARLY SETTLEMENT CONSIDERATION AND NOTIFICATION
17          If settlement is achieved, the parties shall immediately notify the Courtroom Deputy at
18   (206) 370-8524.
19          The parties are responsible for complying with the terms of this Order. The Court may
20   impose sanctions on any party who fails to comply fully with this Order.
21          Dated this 18th day of March, 2025.
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23
                                                           A
                                                           Lauren King
                                                           United States District Judge
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